  0:24-cv-01025-SAL         Date Filed 02/29/24      Entry Number 1         Page 1 of 11




                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF SOUTH CAROLINA
                             ROCK HILL DIVISION



BRANDON GUFFEY, INDIVIDUALLY                )
AND AS PERSONAL                             )
REPRESENTATIVE FOR THE ESTATE               )              0:24-cv-1025-SAL
                                                   Case No:_________________________
OF G.T.G.,                                  )
                                            )
                    Plaintiff,              )
                                            )            NOTICE OF REMOVAL
     vs.                                    )
                                            )
META PLATFORMS, INC.;                       )
INSTAGRAM, LLC; META PAYMENTS,              )
INC.; and META PLATFORMS                    )
TECHNOLOGIES, LLC.                          )
                                            )
                    Defendants.             )


    1. PLEASE TAKE NOTICE THAT, pursuant to 28 U.S.C. §§ 1332, 1441, and 1446,

       Defendants Meta Platforms, Inc. (“Meta Platforms”), Instagram, LLC; Facebook

       Payments, Inc.; and Meta Platforms Technologies, LLC (collectively, “Meta”) hereby

       remove to the United States District Court for the District of South Carolina, Rock Hill

       Division, the above-captioned state court action, originally filed as Case No.

       2024CP4600228 in the Court of Common Pleas for York County, South Carolina.

       Removal is proper on the following grounds:

    2. This Court has federal question jurisdiction because Plaintiff pleads two federal causes

       of action.

    3. This Court also has diversity jurisdiction, because there is complete diversity between

       the South Carolina Plaintiff and the Defendants, none of which is a South Carolina

       resident—and the amount in controversy exceeds $75,000.
       0:24-cv-01025-SAL        Date Filed 02/29/24        Entry Number 1            Page 2 of 11




  I.     TIMELINESS OF REMOVAL

         4. On January 22, 2024, Plaintiff Brandon Guffey, individually and as a personal

            representative for the estate of G.T.G., filed a Complaint against Meta in the Court of

            Common Pleas for York County, South Carolina.

         5. Meta has not yet been served with the Complaint.

         6. This notice of removal is timely because it is filed before service has been completed,

            so necessarily within the 30 days of service prescribed by 28 U.S.C. § 1446(b). See

            Murphy Bros., Inc. v. Michetti Pipe Stringing, Inc., 526 U.S. 344, 354-56 (1999) (30-

            day removal period begins upon service of summons and complaint).

 II.     PROPRIETY OF VENUE

         7. Venue is proper in this district under 28 U.S.C. § 1441(a) because the state court where

            the suit has been pending is in this district. See 28 U.S.C. § 121(7).

III.     SUMMARY OF ALLEGATIONS

         8. Plaintiff Brandon Guffey, resident of South Carolina, brings this case individually and

            as personal representative for the Estate of G.T.G. in order to recover for harms G.T.G.,

            Plaintiff’s deceased son, allegedly suffered as a result of Meta’s communication apps.

            Compl. ¶¶ 23, 160-175.

         9. Plaintiff alleges that Defendant Meta Platforms, Inc. “is a Delaware corporation, having

            its principal place of business in California.” Compl. ¶¶ 1, 24.

         10. Plaintiff alleges that Defendant Instagram, LLC was “reincorporated . . . in Delaware”

            and that “Meta Platforms is the sole member of this LLC, whose principal place of

            business is in Menlo Park, CA.” Compl. ¶ 30.




                                                  2
0:24-cv-01025-SAL        Date Filed 02/29/24       Entry Number 1         Page 3 of 11




  11. Defendant Meta Payments, Inc. was incorporated in Florida and has its principal place

     of business in Menlo Park, CA.

  12. Defendant Meta Platforms Technologies, LLC was organized under the laws of

     Delaware and has its principal place of business in Menlo Park, CA. None of Meta

     Platforms Technologies, LLC’s members are residents of South Carolina.

  13. This action is one of many lawsuits filed against various companies operating different

     software apps that allow users to create, share, and view content with other users—

     companies which are commonly referred to using the term “social media”—based on

     alleged harms stemming from use of those companies’ communication apps. The key

     allegations about “social media” are largely identical in these cases, most of which

     name Meta Platforms as a defendant, and many of which name one or more of the other

     Meta entities named in this case.

  14. On October 6, 2022, the Judicial Panel on Multidistrict Litigation (JPML) formed a

     multidistrict litigation (MDL) to coordinate actions where plaintiffs allege harms from

     the use of communication apps like those operated by Meta. See Transfer Order, In re

     Social Media Adolescent Addiction/Personal Injury Product Liability Litigation, MDL

     No. 3047 (attached as Exhibit A). There are currently over 340 cases pending in the

     MDL, well over 300 of which name Meta Platforms as a defendant.

  15. Like the cases that were centralized by the JPML into an MDL, the central allegation

     of Plaintiff’s Complaint against Meta concerns its apps’ functionalities for

     communicating, displaying, and disseminating content among users. Compl. ¶¶ 1, 3-

     4, 7. The Complaint specifically challenges particular features of Meta’s apps, such as

     “algorithmically tailored ‘feeds’” that allegedly show and facilitate interactions with

                                           3
      0:24-cv-01025-SAL        Date Filed 02/29/24        Entry Number 1          Page 4 of 11




           third-party content, such as “photos and videos.” Id. ¶ 49. The Complaint alleges that

           Meta “designed” these features “to exploit minor users’ incomplete brain development”

           and “make adolescents addicted to [its] platforms.” Id. ¶ 33. Further, the Complaint

           alleges that third-party bad actors use Meta’s apps to “identify[], target[], access[], and

           exploit[] children.” Id. ¶ 65. Plaintiff brings claims against Meta for strict product

           liability, negligent design, negligence, fraudulent concealment and misrepresentation,

           negligent concealment and misrepresentation, wrongful death, survival, and violations

           of 18 U.S.C. §§ 2252, 2252A(5)(b), and 2255, based on the alleged design of Meta’s

           apps and their purported failure to warn of alleged defects or provide safeguards as to

           use. Id. ¶¶ 176-327.

        16. Meta denies that liability or damages can be established by Plaintiff. Meta does not

           concede and reserves the right to contest, at the appropriate time, that any of Plaintiff’s

           allegations constitutes a cause of action against it under applicable law. No statement

           or reference in this Notice of Removal constitutes an admission of liability or a

           suggestion that Plaintiff will or could actually recover any damages based upon the

           allegations contained in the Complaint or otherwise. Meta’s notice seeks only to

           establish that the Complaint presents a federal question on its face, that there is

           complete diversity between Plaintiff and Defendants, and that the amount in

           controversy is more likely than not in excess of Section 1332’s jurisdictional minimum.

IV.     THIS COURT HAS SUBJECT MATTER JURISDICTION UNDER 28 U.S.C.
        § 1331 AND 28 U.S.C. § 1332.

        17. Removal is proper under 28 U.S.C. § 1331 because the Complaint presents a federal

           question on its face. Removal is also proper under 28 U.S.C. § 1332(a) because there

           is complete diversity of citizenship between Plaintiff and Meta and the amount in
                                                 4
0:24-cv-01025-SAL          Date Filed 02/29/24         Entry Number 1          Page 5 of 11




      controversy exceeds $75,000, exclusive of interest and costs. All other requirements

      for removal have also been satisfied.

  A. Plaintiff’s Claims Facially Arise Under Federal Law.

  18. The original jurisdiction of the district courts includes jurisdiction over “all civil actions

      arising under the Constitution, laws, or treaties of the United States.” 28 U.S.C. § 1331.

  19. “Whether a case ‘arises under’ federal law for purposes of § 1331” is governed by the

      “well-pleaded complaint rule,” Holmes Grp., Inc. v. Vornado Air Circulation Sys., 535

      U.S. 826, 830 (2002), “which provides that federal jurisdiction exists . . . when a federal

      question is presented on the face of the plaintiff’s properly pleaded complaint,”

      Caterpillar, Inc. v. Williams, 482 U.S. 386, 392 (1987).

  20. Here, Plaintiff expressly pleads two federal causes of action: Plaintiff’s eighth cause of

      action alleges violations of 18 U.S.C. §§ 2255 and 2252 (Compl. ¶¶ 300-309), and

      Plaintiff’s ninth cause of action alleges violations of 18 U.S.C. §§ 2255 and

      2252A(5)(b) (Compl. ¶¶ 310-319). Plaintiff specifically seeks damages pursuant to the

      “Civil Remedy for Personal Injuries” articulated in 18 U.S.C. § 2255, which provides

      redress for violations of 18 U.S.C. §§ 2252. Compl. ¶¶ 305-307, 315-317.

  21. “Federal-question subject-matter jurisdiction exists” here because Plaintiff brings an

      “action under” 18 U.S.C. ¶ 2255, “a federal statute providing a cause of action.” See

      Dole v. Joshi, 2023 WL 3975113, at *7 (E.D. Mo. June 13, 2023) (finding federal

      question jurisdiction exists in an action brought “under 18 U.S.C. § 2255, which

      provides a civil remedy for personal injuries resulting from a violation of various

      federal crimes, including 18 U.S.C. § 2252A.”).




                                              5
    0:24-cv-01025-SAL            Date Filed 02/29/24       Entry Number 1         Page 6 of 11




       22. Because the Court has original jurisdiction over Plaintiff’s claims stating a federal

           question, it has supplemental jurisdiction over Plaintiff’s remaining counts, which are

           so related that they “form part of the same case or controversy.” 28 U.S.C. § 1367(a).1

       B. There Is Complete Diversity Between Plaintiff and Meta, and the Amount in
          Controversy Exceeds $75,000.

       23. Plaintiff and Meta are “citizens of different States.” 28 U.S.C. § 1332(a).

       24. Plaintiff alleges that he is a resident of York County, South Carolina. Compl. ¶ 23.

       25. Meta is not a citizen of South Carolina. For purposes of diversity jurisdiction, a

           corporation is “a citizen of every State and foreign state by which it has been

           incorporated and of the State or foreign state where it has its principal place of

           business.” 28 U.S.C. § 1332(c)(1). “It is well-settled that an LLC is a citizen of every

           state in which any of its members are domiciled.” Sulka v. Hoagland, 2019 WL

           4409464, at *2 (D.S.C. Sept. 16, 2019). Thus, Meta Platforms, Instagram, LLC, and

           Meta Platforms Technologies, LLC are citizens of Delaware and California—not South

           Carolina. And Meta Payments, Inc. is a citizen of Florida and California—not South

           Carolina.

       26. Accordingly, for purposes of diversity jurisdiction, there is complete diversity between

           Plaintiff and Meta.

       27. In addition to pleading complete diversity, a notice of removal alleging diversity

           jurisdiction “need include only a plausible allegation that the amount in controversy




1
  “Nothing in the jurisdictional statutes suggests that the presence of related state law claims
somehow alters the fact that [the] complaints, by virtue of their federal claims, were ‘civil actions’
within the federal courts’ ‘original jurisdiction.’” City of Chicago v. Int’l College of Surgeons,
522 U.S. 156, 166 (1997).
                                                  6
0:24-cv-01025-SAL        Date Filed 02/29/24        Entry Number 1         Page 7 of 11




     exceeds the jurisdictional threshold.” Dart Cherokee Basin Operating Co., LLC v.

     Owens, 574 U.S. 81, 89 (2014). “Evidence establishing the amount” in controversy is

     not required to be included with the notice of removal, but instead is required only

     “when the plaintiff contests, or the court questions, the defendant’s allegation.” Id. at

     89.

  28. Meta takes no position as to which of the Complaint’s allegations are admitted or

     denied at this time, reserves the right to deny the Complaint’s factual allegations, and

     denies that Plaintiff is entitled to any relief. But based on the allegations in the

     Complaint, the amount in controversy exceeds $75,000.

  29. First, in respect to his eighth and ninth causes of action, Plaintiff states that “[a]t a

     minimum,” he “intend[s] to seek statutory liquidated damages in the amount of

     $150,000 against each Defendant, as well as the cost of the action, including reasonable

     attorney’s fees and other litigation costs reasonably incurred, prejudgment and post-

     judgment interest, and such other relief as the Court deems appropriate, pursuant to”

     18 U.S.C. § 2255(a) and 2252A(f). Compl. ¶¶ 307, 317.

  30. Second, the nature of Plaintiff’s allegations also support a finding that the amount in

     controversy threshold is met. Plaintiff alleges that he and G.T.G. were harmed by

     Meta’s conduct and that “[s]uch harms include addiction to, or compulsive or excessive

     use of, Defendants’ platforms, and cascade of resulting negative effects, including but

     not limited to dissociative behavior, withdrawal symptoms, social isolation, damage to

     body image and self-worth, increased risky behavior, exposure to predators, sexual

     exploitation and profound mental health issues including but not limited to depression,

     body dysmorphia, anxiety, suicidal ideation, self-harm, insomnia, eating disorders, and

                                           7
     0:24-cv-01025-SAL        Date Filed 02/29/24        Entry Number 1          Page 8 of 11




          death.” Id. ¶¶ 175, 270. Courts have found claims for damages based on similar

          allegations sufficient to satisfy the amount-in-controversy threshold. See, e.g., In re

          Lumber Liquidators Chinese-Manufactured Flooring Prod. Mktg., Sales Pracs. &

          Prod. Liab. Litig., 2024 WL 174363, at *5 (4th Cir. Jan. 17, 2024) (noting that district

          court had diversity subject matter jurisdiction in case involving wrongful death claim

          where defendant alleged amount in controversy exceeded $75,000).

       31. Based on the foregoing facts and allegations, this Court has original jurisdiction over

          this action pursuant to 28 U.S.C. § 1332(d) because:

              a. this is a civil action within the meaning of Section 1332(a);

              b. the parties are citizens of different states as required by § 1332(a)(1); and

              c. the amount in controversy exceeds $75,000 as required by § 1332(a).

       32. Accordingly, this action is properly removable under 28 U.S.C. § 1441.

V.     OTHER REMOVAL ISSUES

       33. Pursuant to 28 U.S.C. § 1446(b)(2)(A), all defendants consent to removal.

       34. Pursuant to 28 U.S.C. § 1446(a), true and correct copies of the state court docket sheet,

          the Complaint, and all other process, pleadings, and orders served on Meta and/or filed

          in the state court are attached as Exhibits B and C. These filings constitute the

          complete record of all records and proceedings in the state court.

       35. If any question arises as to propriety of removal to this Court, Meta requests the

          opportunity to present a brief and oral argument in support of its position that this case

          has been properly removed.




                                                8
    0:24-cv-01025-SAL        Date Filed 02/29/24         Entry Number 1       Page 9 of 11




       36. Upon filing the Notice of Removal, Meta will furnish written notice to Plaintiff’s

          counsel and will file and serve a copy of this Notice with the Clerk of the Court of

          Common Pleas for York County, South Carolina, pursuant to 28 U.S.C. § 1446(d).

       37. Meta files this Notice of Removal without waiving any defenses to the claims asserted

          by Plaintiff, including as to personal jurisdiction. Meta disputes the allegations in

          Plaintiff’s Complaint.

       38. Meta reserves the right to amend or supplement this Notice.

       WHEREFORE, Meta removes this action, pending in the Court of Common Pleas for

York County, South Carolina, as Case No. 2024CP4600228, to this Court.



 February 29, 2024                                 Respectfully Submitted,

                                                   WYCHE, P.A.
                                                   /s/ James E. Cox, Jr.
                                                   Wallace K. Lightsey (Fed. ID 1037)
                                                   Meliah Bowers Jefferson (Fed. ID 10018)
                                                   James E. Cox, Jr. (Fed. ID 13054)
                                                   200 E. Broad Street, Suite 400
                                                   Greenville, SC 29601
                                                   Telephone: (864) 242-8200
                                                   Facsimile: (864)253-8900
                                                   E-mail: wlightsey@wyche.com
                                                          mjefferson@wyche.com
                                                          jcox@wyche.com

                                                   Ashley M. Simonsen (Pro Hac Vice
                                                   Forthcoming)
                                                   asimonsen@cov.com
                                                   Covington & Burling LLP
                                                   1999 Avenue Of The Stars
                                                   Los Angeles, CA 90067-4643
                                                   Telephone: (424) 332-4800.

                                                   Nathan E. Shafroth (Pro Hac Vice
                                                   Forthcoming)
                                                   nshafroth@cov.com
                                               9
   0:24-cv-01025-SAL   Date Filed 02/29/24    Entry Number 1       Page 10 of 11




                                        Isaac D. Chaput (Pro Hac Vice Forthcoming)
                                        ichaput@cov.com
                                        COVINGTON & BURLING LLP
                                        415 Mission Street, Suite 5400
                                        San Francisco, CA 94105-2533
                                        Telephone: + 1 (415) 591-6000

                                        Attorneys For Defendants Meta Platforms,
                                        Inc., Instagram, LLC, Meta Payments, Inc.,
                                        and Meta Platforms Technologies, LLC

Greenville, SC
February 29, 2024




                                      10
   0:24-cv-01025-SAL          Date Filed 02/29/24       Entry Number 1        Page 11 of 11




                                CERTIFICATE OF SERVICE

       I hereby certify that on February 29, 2024 the foregoing was electronically filed on the
Court’s ECF system and served by email and first-class mail as follows:

       John R. Alphin
       Jessica L. Fickling
       Kennedy Ezekiel
       Strom Law Firm, LLC
       6923 N. Trenholm Road, Ste 200
       Columbia, SC 29206
       jalphin@stromlaw.com
       jfickling@stromlaw.com
       kezekiel@stromlaw.com

       Thomas E. Pope
       Elrod Pope
       212 E. Black St.
       Rock Hill, SC 29730
       tpope@elrodpope.com


                                     /s/ James E. Cox, Jr.
                                     James E. Cox, Jr.
                                     Attorney For Defendants
                                     Meta Platforms, Inc., Instagram, LLC, Meta
                                     Payments, Inc., and Meta Platforms Technologies,
                                     LLC




                                               11
